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Fon rnn NonrnnnN DrsrRrcr or Nnw Yom

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, and JOHN DOE #5,
                                                   COMPLAINT
                        Plaintiffs,                Case No.: 5:18-cv-496 (FJS/DEP)
       V


SYRACUSE UNIVERSITY, KENT                          JURY TRIAL DEMANDED
SYVERUD, individually and as Chancellor
of Syracuse University, PAMELA PETER,
individually and as Assistant Dean of
Student Rights and Affairs and the Director
of the Office of Student Rights and
Responsibilities, ROBERT HRADSKY,
individually and as Syracuse University
Dean of Students and Associate Vice
President of the Student Experience,
TERESA ABI-NADER DAHLBERG,
individually and as the Dean of the College
of Engineering and Computer Science,

                        Defendants.



       Plaintiffs, JOHN DOE #1, JOHN DOE#2, JOHN DOE #3, JOHN DOE#4, and JOHN

DOE #5, by and through their attomeys, Smith, Sovik, Kendrick      &   Sugnet, P.C., complain   of

Defendants, SYRACUSE UNIVERSITY, KENT SYVERUD, individually and as Chancellor                   of

Syracuse University,   PAMELA PETER, individually and as Assistant Dean of Student Rights and

Affairs and the Director of the Office of Student Rights and Responsibilities, ROBERT

HRADSKY, individually and as Syracuse University Dean of Students and Associate Vice

President of the Student Experience, TERESA ABI-NADER DAHLBERG, individually and as

the Dean of the College of Engineering and Computer Science, as follows:




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                                                  INTRODUCTION

         1.                Plaintifß are students at Syracuse University and are prospective members of the

Syracuse University chapter              of Theta Tau, a professional engineering fraternity at the Syracuse

University. On March 30,2018,               as was Theta Tau   tradition, Plaintiffs performed a satirical   skit-
a   roast-of the Theta Tau brothers. The video was privately available to Syracuse University

Theta Tau members, but no one else. Over two weeks later, anunknown party accessed the Theta

Tau's private Facebook group, recorded the video, and disseminated                   it to Syracuse University
Officials and The Daily Orange without authorization or consent.

         2.                Indeed, as the Senior Vice President of Enrollment and the Student Experience,

Dolan Evanovich, stated regarding the investigation and ensuing disciplinary process: "'We are

really trying to compress this timeline." But, in the name of "compress[ing] the timeline,"

Defendants proclaimed guilt by association without any investigation. V/ithin minutes of the roast

recordings leaking, Defendants had effectively concluded the investigation; Defendants had:

(1) expelled the fraternity for nothing more than being identifiable in the recording; (2) identified

Theta Tau as the organizalion                in the video to the     community, outing Plaintiffs and their

organization and subjecting Plaintiffs to ridicule and scorn; and (3) proclaimed the participants as

racist, anti-sematic, homophobic, sexist, and hostile to people with disabilities instead of

contextualizing the recording as satirical.            All that Defendants   have done is overreact, speed to

judgment, and portray the students as "criminals."

         3.                During the ensuing eight days, Defendants have dissembled Plaintiffs lives by:

(1) branding thern as racist, anti-sematic, homophobic, sexist, and hostile to people with

disabilities; (2) suspending thern from school and barring thern from attending classes in the crucial




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final weeks of the semester, threatening their academic success and survival; and (3) malign the

students personally to salvage Syracuse University's reputation at             Plaintiffs'   expense.

       4.                 Plaintiffs now seek equitable relief from this Court, enjoining Defendants from

fuither harming Plaintiffs, and also seek damages for the injury to their reputation caused by

Defendants' malicious acts.

                                                   THE PARTIES

       5.                 Plaintiff, JOHN DOE #1, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of Massachusetts.

       6.                 Plaintiff, JOHN DOE #2, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, who is a Central American citizen with a domicile in John

Doe's country of citizenship.

       1.                 Plaintiff, JOHN DOE #3, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of New Jersey.

       8.                 Plaintiff, JOHN DOE #4, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of Colorado.

       9.                 Plaintiff, JOHN DOE #5, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2019, whose permanent domicile is in the State of New Hampshire.

       10.                Defendant SYRACUSE UNIVERSITY (the "University") is a private university

located in Syracuse, New            York. Upon information     and belief, the University operates under a state

charter that places the institution under a Board of Trustees, the defendant Trustees of Syracuse

University. Overall guidance of Syracuse University lies in the discretion of its forty-six voting

member Board of Trustees. The Board of Trustees is entrusted to select the Chancellor, oversee




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all faculty and senior administrative appointments, monitor the budget, supelise the endowment

and protect Syracuse University.

        11.               Defendant, KENT SYVERUD, is the Chancellor of the University. In his official

capacity as Chancellor and President of the University, he is its chief executive and the chief

administrative officer of the University.

        12.               Defendant, PAMELA PETER, is the University's Assistant Dean of Student Rights

and Affairs and the Director of the Office of Student Rights and Responsibilities. As the Director

of the Office of Student Rights and Responsibilities she has been personally involved in the

handling of the disciplinary process as it has been used against Plaintifß.

        13.               Defendant, ROBERT HRADSKY, the Syracuse University Dean of Students and

Associate Vice President of the Student Experience, is intimately involved in student disciplinary

matters, including this matter, where he contacted Plaintiffs.

        14.               Defendant, TERESA ABI-NADER DAHLBERG, the Dean                   of the College of
Engineering and Computer Science, heads the College of Engineering and Computer Science and

has released statements to the public and the university community regarding Plaintiffs.

                                           JURISDICTION AND VENUE

        15.               The Court has original subject matter jurisdiction based under 28 U.S.C. g 1331

and28 U.S.C. $ 1332.

        16.               Federal question subject matter jurisdiction is established through 42 U.S.C. $ 1331

and42 U.S.C. $ 1983.

       11.                This Court has subject matter jurisdiction over the claims in this Complaint

pursuant to 42 U.S.C.28 U.S.C. $ 1332 as the parlies are completely diverse and the amount in

controversy exceeds $75,000 exclusive of interest and costs. The parlies' domiciles are as follows:




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              a.           Plaintiff, JOHN DOE #1, has a permanent dornicile in the State of Massachusetts.

              b.           Plaintiff, JOHN DOE #2, is a foreign national who has a pennanent domicile

                           outside the United States of America.

              c. Plaintiff, JOHN DOE #3, has a permanent domicile in the State of New Jersey.
              d.           Plaintiff, JOHN DOE#4, has a permanent domicile in the State of Colorado.

              e.           Plaintiff, JOHN DOE #5, has a permanent domicile in the State of New Hampshire.

              f.           Upon information and belief, Defendant, SYRACUSE UNIVERSITY, is a New

                           York State chartered educational corporation. See N.Y. L. 1881, ch. 414.

              g.           Upon information and belief, Defendant, KENT SYVERUD, has a permanent

                           domicile in the State of New York.

              h.           Upon information and belief, Defendant, PAMELA PETER, has a permanent

                           domicile in the State of New York.

              i.           Upon information and belief, Defendant, ROBERT HRADSKY, has a permanent

                           domicile in the State of New York.

              j.           Upon information and belief, Defendant, TERESA ABI-NADER DAHLBERG,

                           has a permanent domicile in the State of New York.

        18.                Venuelies inthis districtpursuantto 28 U.S.C. $ 1391(b)(1) and $ 1391(b)(2) since

all the defendants reside in this judicial district and the events giving rise to Plaintiffs'         clairns

occurred in this district.

                                             FACTUAL ALLEGATIONS

        19.                Theta Tau is the oldest and largest co-educational fraternity devoted to engineers

in the country. Founded in 1904 at University of Minnesota, the fraternity is cornmitted                   to

fostering its core values in its mernbers. The fraternity seeks to foster honest, ethical, dependable,




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trustworthy future engineers who are respectful of themselves and others. The fraternity's guiding

principle is to foster a culture of fraternal bonds that creates lifelong relationships built on mutual

respect and professionalism while also helping members balance social, service, and professional

activities. Theta Tau prides itself on its diverse membership, which helps foster diversity in the

engineering profession. For example, nationwide, two-thirds of Theta Tau members are male and

one-third are female as compared to the national average across engineering schools, which is an

imbalanced eighty percent male and twenty percent female.

        20.              The Tau chapter of the Theta Tau fratemity is based at Syracuse University,    a


private research university (the "Chapter"). The Chapter had forty-eight members (the

"Members") and had a sixteen-member new recruit cohort (the "Prospective Mernbers") at all

times relevant to this action. Consistent with Theta Tau's national principles, the Chapter includes

twenty-eight diverse members, or forty-four percent of its entire membership. In terms of

diversity, the Chapter's demographics make two times more diverse than the College of

Engineering        &      Computer Science at the University. The Chapter includes foreign nationals,

African Americans, Asian Americans, Indian Americans, and Central Americans. The Chapter is

co-educational, and has a history of including both male and female members.

                                            The March 30,2018 Roast

        21.              On Friday, March 30,2018, Plaintiffs (and every other prospective Chapter

member) took part             in a Theta Tau Chapter tradition: a "roast" of the Chapter members (the

"Roast"). The Roast is a time-honored Chapter tradition that builds unity by satirically and

hyperbolically depicting brothers.

        22.              Plaintiffs, along with their fellow prospective Chapter members, devised a set of

skits in accordance with tradition. The skits were perfonned privately at the Chapter's house.




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Recognizing that some members may not be able to attend the Roast, the Roast was recorded for

private viewing by fellow Chapter members. The recording was intended to be for private use only,

and was only accessible to Chapter members.

         23.               On or about April 18,2018, without authonzation, recordings of portions of the

Roast were taken from the private groups without authorization and were disseminated to the

University and others. The first clip was released without authorization on April 18, 2018, and is

accessible at https,,llyoutu.be/rwi4gnJSSZg. The second clip was released without authorization

on   April 21,2018,           and is accessible at: https://youtu.be/ogDeS   zKUNw. The clips appear to have

been taken by accessing the private Chapter Facebook group, playing the original recordings, and

recording them with another device. The Roast recordings-two unauthorized, decontextualized

clips of the Roast-have become the subject of local and national attention.

         24.               John Does   #143   are ethnically diverse who shared two relevant   traits: first, they

were prospective members of the Chapter; and, second, they participated in the Roast. Plaintiff,

JOHN DOE #1, is an Afücan American freshman at the University who was in the process of

becoming a Chapter member. Plaintiff, JOHN DOE #2, is a Central American citizen who is a

freshman at the University who was in the process of becoming a Chapter member. Plaintiff,

JOHN DOE #3, is an Indian American freshman at the University who was in the process of

becoming a Chapter member. Plaintiff, JOHN DOE #4, is a Freshman at the University who was

in the process of becorning a Chapter member. Plaintiff, JOHN DOE #5, is                a Chapter member.




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                                                          Plaintiffs Rights

       25. In its                         Student Handbook, the University includes "Student Rights                  and

Responsibilities," which includes the right to:

                 a.             "speech/ExpressiorVPress. Students have the right to express themselves freely on

                                any subject provided they do so in a manner that does not violate the Code of

                                Student Conduct. Students in turn have the responsibility to respect the right of all

                                members of the University to exercise these freedoms";

                 b.             "Fundamental Fairness. Students have the right to fundamental fairness before

                                formal disciplinary sanctions are imposed by the University for violations of the

                                Code     of Student Conduct-as      provided   in the published    procedures   of   the

                                University's Conduct System or other official University publications. Students

                                have the right to written notice and the opportunity for a hearing before any change

                                in status is incurred for disciplinary reasons unless a significant threat to persons or

                                property exists"; and

                 c.             "students have the right to expect a reasonably safe environment supportive of the

                                University mission and their o,wn educational goals. Students have the

                                responsibility to protect and maintain that environment and to protect themselves

                                from all hazards to the extent that reasonable behavior and precaution can avoid

                                risk."

       26.                      The University at all times herein mentioned established, created, published, and

furnished to students on a yearly basis policies and procedures governing the administration of

penalties related to the aforementioned rules and regulations. Such policies and procedures were




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incorporated in and made apart of the Syracuse University's Student Conduct System Handbook

(the "System").

         27.                In   a   portion entitled "Bill of Rights", the System specifically sets forth some of the

rights of students at the University. Specifically, regarding the rights of the accused, the "Bill                 of

Rights" states students have the right to:

                a.          Participate in a process that is fair, impartial, and provides adequate notice

                            and meaningful opportunity to be heard;

               b.           Access to at least one level of appeal of a determination; and

                c.          Be accompanied by an advisor of choice who may assist and advise                 a


                            reporting individual, accused or respondent throughout the judicial or

                            conduct process including during all meetings related to such process.

         28.                Additionally, Part      - 4.1 of the System states that the academic status of students
"shall not be changed while a case is pending in the Office of Student Rights and Responsibilities,

unless   it has been determined by the Director of Student Rights and Responsibilities,                             in

consultation with the Senior Vice President for Enrollment and the Student Experience, or a

designee, that an interim suspension is required only after a decision has been made that the interim

suspension promotes the safety and well-being of the University community."

         29.                Part     - 4.2 of the System states that: "A student who is suspended      on an interim

basis pending the outcome of proceedings against them                      will be given the opportunity to be heard

by the University Appeals Board on the merits of the decision to impose the interim suspension

within three (3) University business days of receipt by the Office of Student Rights and

Responsibilities of the student's written request for such a hearing. Such a request must be made

by the student within 30 University business days of the imposition of the interirn suspension.                     If



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no such request is made, the interim suspension will remain in effect pending             a   hearing or Informal

Resolution meeting on the merits of the conduct case. All recommendations of the University

Appeals Board reviewing the imposition of an interim suspension are confirmed by the Senior

Vice President for Enrollment and the Student Experience or their designee, and when confirmed,

the decision is final and no further review of the interim suspension status is available."

                                The University's Impulsive and Unfounded Punishment
                                   \ilithout Proper and Appropriate Investigation:
                                                    April 18,2018

        30.                  On April 18, 2018, the Roast recordings were released without authorization.

        31. At 11:05am on April 18, 2018, the Director of the Office of Student Rights and
Responsibilities, PAMELA PETERS, emailed the Chapter stating it had been "suspended."

        32.                  Just twenty-nine minutes later, the Chancellor, KENT SYVERUD, sent a campus-

wide email identifying the Chapter as the originator of a video containing "extremely troubling

and disturbing conduct." After identifying the fraternity, the Chancellor characterized the "words

and behaviors"               in the Roast recording as "extremely racist, anti-Semitic, homophobic, sexist, and

hostile to people with disabilities."

        33. At                   approximately 4:30pm on      April 18, 2018, the Dean of the College of
Engineering and Computer Science, TERESA ABI-NADER DAHLBERG, sent an email stating,

"the Syracuse University campus was shown very ugly, disturbing behavior displayed by some of

our students" insofar as "[a] series of videos was uncovered that showed some members of the

Theta Tau professional engineering fraternity using racist, anti-Semitic, homophobic, sexist, and

ableist language."




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     The University's Continued Disparagement \ilithout a Meaningful Investigation:
                             April 19,2018 to April23,2018

       34.                 Over the ensuing seven days, the University has followed the pattern it established

on April 18, 2018: labelling Plaintiffs as racist, anti-Semitic, homophobic, sexist, and hostile to

people with disabilities to feign action and attention instead of investigating the allegations and

explaining the actual, satirical meaning of the Roast.

       35.                 The Roast recordings, published by The Daily Orange and commented on by

multiple University officials between April 19, 2018 and Apnl23,2018, have been repeatedly

decontextualized, intentionally distorted, and maligned to Plaintiffls detriment in favor of the

University's public relations response campaign. Instead of portraying the Roast in its satirical

intent, University officials have selectively commented on snippets to make the Roast appear                as


though the excerpts were seriously held views of the participants. University officials have made

numerous false statements of fact over the last eight days:

              a.           Chancellor Kent Syverud claimed the Roast recordings exhibited "extreme and

                           egregious racism, sexism, ableism, antisemitism and homophobia," completely

                           ignoring the context of the Roast recordings and the Theta Tau members' repeated

                           explanations that, when taken in context, the Roast recordings were satirical;

              b.           Dean of Students Robert Hradsky stated the video depicted "sexual and relationship

                           violence" when it parodies sexual acts that, by any viewing of the recording, may

                           be offensive but are not cornpelled;

              c.           Chancellor Kent Syverud reaffirmed his earlier misstatements, labelling the videos

                           "fe]xplicitly racist, anti-sernatic, homophobic, sexist, and hostile to people with

                           disabilities," again ignoring the context of the Roast; and




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             d.           Chancellor Kent Syverud then again stated,       "I   believe the second video depicts

                          egregious behavior, including sexual assault, violence and discriminatory mockery

                          and   hostility toward people with disabilities that is unacceptable and deeply harmful

                          in many ways," without addressing the Roast's context.

        36.               Several times, University officials have described the conduct as criminal despite

District Attorney V/illiam Fitzpatrick stating that there was "nothing" criminal about the videos.

In point of fact, District Attorney William Fitzpatrick repeatedly denied that the                       conduct

constituted crimes. Reviewing the videos in context, he drew the reasonable conclusion that the

University continues to ignore: while the video may depict "rank stupidity, . . . luckily stupidity is

not a crime."

        37.               Upon information and belief, the University either did not perform any evaluation

or investigation into the context of the Roast recordings or has willfully ignored the context to

further its goals.

        38.               On or about Apnl2l,2018 the University sent eighteen students, including all four

Plaintiffs, the same letter informing them that a complaint was filed against them by the

Department       of Public Safety (the "Charging Letters"). The letters-in intentionally                  vague,

conclusory statements-alleged various violations of Syracuse University rules and regulations

that were all patently irrelevant to the skits, which formed the basis for the letters. Specifically, it

was alleged that Plaintiffs had committed the following offenses in violation of the Code:

              a.          Physical harm or threat of physical hann to any person or persons, including
                          but not limited to: assault, sexual abuse, or other forms of physical abuse;
              b.          Harassment-whether physical, verbal or electronic, oral, written or video-
                          which is beyond the bounds of protected free speech, directed at a specifìc
                          individual(s), easily construed as "fighting words," or likely to cause an
                          immediate breach of the peace;
              c.          Conduct-whether physical, verbal or electronic, oral, written or video-
                          which threatens the rnental health, physical health, or safety of any person



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                             or persons including, but not limited to hazing, drug or alcohol   abuse,
                         bullying and other forms of destructive behavior;
             d. Illegal use, possession,          purchase, distribution, manufacture or sale of
                         alcohol, drugs or controlled substances, or any other violation of the
                         Syracuse University Policy on Alcohol, Other Drugs, and Tobacco;
              e.         Violation of University policies, rules or regulations that are published in
                         the Student Handbook, or other official University publications or
                             agreements;
              f. Office of Fraternity and Sorority Affairs Policy; and
              g. Syracuse University Anti-Harassment Policy.
       39.                   After sending the Charging Letters, the University commenced a public relations

campaign aimed at distancing the University from the incident by making public statements

decrying the conduct as, amongst other things, racist and ethnically discriminatory. Key

University figures, including Kent Syverud, Pamela Peter, Robert Hradsky, and Teresa Abi-Nader

Dahlberg spoke publically about the video in a calculated attempt to malign the Plaintiffs to further

the University's agenda.

        40.                  On or about Apnl22 and23,2018, Plaintiffs were notified that in addition to being

charged with the aforementioned misconduct, Plaintiffs were suspended from attending any

classes, labs, or academic functions at the University.

        41.                  While the students were "suspended," the Chief of the Syracuse University

Department of Public Safety stated, "[o]ut of an abundance of caution and ongoing concern for

our campus community" the students were suspended. His statement made no reference to a threat

to the public safety or welfare of any individuals.

        42.                  The Plaintiffs (and the thirleen similarly situated students) are all under    an


unauthorized quasi-suspension enacted by the University to skirt its well-established rules and

effectively expel the Plaintiffs without proper process. In the past eight days, in violation or

contravention of its procedures, the University has:

              a.             Placed the students on an unauthorized, improper "suspension" without cause;




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             b.      Mischaractenzed the Roast repeatedly, treating       it   as serious and sincere when, in

                     context, it is obviously satirical;

              c. Mislabeled          the Plaintiffs, as participants   in the Roast (along with all      other

                     participants), as racist, anti-sematic, homophobic, sexist, and hostile to people with

                     disabilities in spite of the Roast's satirical context repeatedly; and

              d.     Allowed Theta Tau and Plaintiffs (amongst others) to be treated abusively, creating

                     a    hostile campus tainted by the mischaracterization and mislabeling the University

                     itself created.

                                  AS AND FOR A FIRST CAUSE OF ACTION
                                       FOR BREACH OF CONTRACT

        43.              Plaintiffs repeat and reallege the allegations set forth in paragraphs "1" through

"42" wiút the same force and effect as if fully set forth herein.

        44.              Plaintiffs were accepted by the University and enrolled therein as students for

programs of study which upon completion would lead to the awarding of degrees in the respective

fields of each student.

        45.              Upon information and belief, at the time of the Roast and the publishing thereof,

Plaintiffs were in good academic standing.

        46.              Upon the acceptance of Plaintiffs as students at the University, and their continued

enrollment as students, defendants formed an contract with each of the Plaintifß. The terms of this

contract provided that in retum for Plaintiffs continued payment of tuition, charges, and fees, along

with satisfying Plaintiffs' respective courses of study, abiding by the rules, regulations,                   and


requirements set forlh in the University's Code, Plaintiffs would obtain a degree in each of their

respective fields.




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       47.                 The contract between Plaintiffs and the University additionally required        the

University treat Plaintiffs in good faith and to refrain from acting in any manner which was

arbitrary and capricious related to the administration of its rules, regulation, or judiciary system.

Specifically, the University agreed that              it   would substantially comply with its own policies,

procedures, and guidelines before taking any action that would negatively harm Plaintiffs.

       48.                 The University established, created, published and furnished to students on a yearly

basis rules and regulations outlining the proper conduct              of students in the Code. These rules and

regulations constituted some of the terms of the contract between Plaintiffs and the University.

        49.                The University established, created, published and furnished to students on a yearly

basis rules and regulations outlining the proper fratemity/sorority conduct             of students. The rules

and regulations were incorporated in and made a part of the Syracuse University's Office                     of

Fraternity and Sorority Affairs Policy (the "F&S Policy"). These rules and regulations also

constituted some of the terms of the contract between Plaintifß and the University.

       50.                 The University established, created, published and furnished to students on a yearly

basis rules and regulations outlining the proper conduct of students related to harassment. Such

rules and regulations were incorporated in and made a part of the Syracuse University's Anti-

Harassment Policy. These rules and regulations also constituted some of the terms of the implied

contract between Plaintiffs and the University.

        51.                The University established, created, published, and furnished to students on       a


yearly basis policies and procedures laid out in the System, which govemed the administration of

penalties related to the aforementioned rules and regulations. These policies and procedures also

constituted sorne of the tenns of the contract between Plaintiffs and the University.




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       52.              Defendants disregarded Plaintifß' "Student Rights" as provided for in the Student

Handbook, by:

              a.        Violating Plaintifß' right to express themselves freely and, instead, punishing

                        Plaintiffs for exercising their right to free speech and satire;

             b.         Denying Plaintiffs fundamental fairness in the disciplinary process by failing to

                        impartially investigate claims and follow the University's disciplinary procedures;

                        and

              c. Failing         to protect Plaintiffs by failing to take steps to reasonably protect their

                        identities or curb a threatening atmosphere fostered by the University Officials'

                        statements.

       53.              Defendants denied Plaintiffs the rights contained        in the University's "Bill of

Rights" by:

              a.        Providing misleading documents alleging patently inapplicable violations of the

                        Code of Conduct, thus denying Plaintiffs adequate notice of the charges against

                        them;

              b.        Prejudging and publically proclairning Plaintiffs racist, anti-sematic, homophobic,

                        sexist, and hostile    to people with disabilities, denying Plaintiffs     meaningful

                        opportunity to be heard; and

              c. Denying Plaintiffs the right to be accompanied               by an advisor of the Plaintiffs'

                        choice   to   assist and advise then during    all meetings related to such   process,

                        including but not lirnited to the informal meetings that are taking place this week.




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       54.                 On or about April     21   ,   2018, Plaintiffs were informed that they had been

"suspended." In violation of Part 4.1 of the System, which only permits Defendants to change

Plaintiffs' academic status to an "interim suspension" while              a disciplinary action is pending,

       55.                 Defendants   told Plaintifß they were suspended as a result of the           pending

disciplinary proceeding. At the same time, Defendants specifically denied that Plaintiffs were

subject to an "interim suspension." Upon information and belief, even if Defendants attempted to

give interim suspensions to Plaintiffs, Defendants did not have cause to institute an interim

suspension based upon the complaint filed with the Syracuse University Department of Public

Safety. As    a result, Defendants          improperly suspended Plaintiffs in breach of their contract.

        56.                The practical effect of Defendants' improper suspension of Plaintiffs is to deny

Plaintifß   the right to appeal the suspension decision in accordance with Part 4.2, which only allows

appeals of interim suspension determinations further denying the fundamental faimess guaranteed

to students under the University's policies.

        57.                On or about Apnl 21,2018, Plaintiffs (and 14 other member of Theta Tau

fraternity) received identical Charging Letters from the University. The Charging Letters were

farcical, alleging feigned violations of the Code of Conduct that were patently inapplicable based

on the Roast's content. Specifically, the University alleged that Plaintiffs had committed the

following patently inapplicable offenses none of which hold water and none of which are true:

              a. Causing physical harm;
              b. Harassment;
              c. Conduct threatening the mental health, physical health, or safety of any
                           pefson or persons;
              d.           Illegal use or possession of drugs or alcohol; and
              e.           Violation of University, Offrce of Fraternity and Sorority Affairs, and Anti-
                           Harassment Policies.




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       58.                 In communications following the charging letter, the University has affirmatively

denied that Plaintifß are suspended on an interim basis as defined by the System. Instead, the

University has created a specific, arbitrary, and capricious punishment established by

administrative fiat for the purposes of bowing to public pressure all-the-while denying Plaintifß

their contractual rights to avail themselves to the judicial proceedings set forth in the System.

       59.                 Such a suspension has prevented Plaintifß from attending class, participating in

any and all academic activities, and generally fulfilling the requirements to continue the academic

year, without following the proper policies and procedures enacted by the University.

       60.                 This suspension is occurring at a critical time for Plaintifß as the 2017-2018

academic calendar reflects that Plaintiffs' indefinite and undefined suspension has occurred during

the final two weeks of classes and may continue into the final exam period.

       6I.                 Upon information and belief, the University, despite promising otherwise, has not

taken any steps to accommodate Plaintiffs and ensure that the students                  will be permitted to
continue their academic studies or finish the school year.

       62.                 Accordingly, the actions undertaken by the University and set forth above

constitute a breach of contract with Plaintiffs and have delayed and irnpeded their ability to obtain

their respective degrees.

        63.                The University's actions in suspending Plaintiffs without cause has resulted in the

immediate, irreparable injury that has no adequate remedy at law because Plaintifß                will not be

able to recover the loss of the tirne invested in the semester or recover from the stigma of being

suspended by the University. Fufther, Plaintiffs suffèr great hardship in not being able to cornplete

a sernester that they worked for months to cornplete.




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                         AS AND FOR A SECOND CAUSE OF ACTION
                FOR VIOLATING THE IMPLIED DUTY OF GOOD FAITH AND FAIR
                                                        DEALING

       64.               Plaintiffs repeat and reallege the allegations set forth in paragraphs "1" through

"63" with the same force and effect as if fully set forth herein.

        65.              Implicit in the aforementioned \contract between Plaintiffs and the University is a

covenant of good faith and fair dealings clause, which establishes that the University had, and

continues to have, a duty to fairly, justly, and impartially adjudicate this matter and follow the

policies and procedures set forth in the System. Moreover, the good faith and fair dealings clause

establishes that Plaintiffs have a right              to continue their studies pending the resolution of the

disciplinary process.

        66.                  The University has breached the duty of good faith and fair dealings by failing to

adjudicate this matter in any manner as outlined by the System. In point of fact, the University has,

is, and continues to act in a partial, malicious, and unfounded manner by creating a new

punishment by administrative fiat.

        61.                  Specifically, Senior Vice President of Enrollment and the Student Experience

Dolan Evanovich at the University has stated when referring to the adjudicative process here that

"[the University is] really trying to compress fthe adjudicative process's] timeline."

        68.                  The University's race to punish Plaintifß for their involvement in the Roast has

denied Plaintifß the right to avail themselves of any adjudicative process as outlined in the System;

specifically, the University's conduct does not permit the Plaintiffs to appeal the University's

apparent decision that Plaintiffs' presence on campus is a threat to the community, nor does it

permit the student to appeal any decision regarding their suspension.




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       69. In addition to creating a punishment for the sole purpose of disadvantaging
Plaintiffs, the University has wholly failed to provide academic accommodations to ensure that the

students are permitted to continue their studies while the adjudicative process works itself out.

       70.                Instead, the Universityhas misguidedlypunished the students before allowing them

due process as provided for in the Student Handbook.

       lL                 Such conduct has denied Plaintiffs of their ability to adequately partake in the

academic requirements to ensure the completion of the semester.

       12.                Accordingly, the University has breached the implied covenant of good faith and

fair dealing not only failed to provide the students with the adjudicative process outlined in the

System, but has also purposefully impeded Plaintiffs ability to continue their academic studies.

       73.                The University's actions in suspending Plaintifß without cause has resulted in the

immediate, irreparable injury that has no adequate remedy at law because Plaintiffs will not be

able to recover the loss of the time invested in the semester or recover from the stigma of being

suspended by the University. Further,             Plaintifß suffer great hardship in not being able to complete

a semester that they worked for months to complete.

                      AS AND FOR A THIRD CAUSE OF ACTION
               FOR BREACH OF CONTRACT FOR VIOLATING PLAINTIFFS'
              CONTRACTUALLY PROTECTED FIRST AMENDMENT RIGHTS

       14.                Plaintifß repeat and reallege the allegations set forth in paragraphs    "l"   through

"J3" with the same force and effect             as   if fully   set forth herein.

       75.                As stated above, the University alleged Plaintiffs harassed others in violation of the

Code. But, as demonstrated by the clear, unambiguous and plain text reading of the                        Code,

Plaintiffs cannot be found in violation of this provision unless the questioned speech is "beyond




        {s078022S.   r}                                          20
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the bounds of protected free speech" or "easily construed as fìghting words," which is not the case

here.

        76. A fair, objective, and reasonable                      viewing of the skit clearly demonstrates that

Plaintifß' conduct does not amount to unprotected                    speech as defined     by the First Amendment;

specifically, Plaintiffs conduct in the Roast does not constitute "fighting words" by any definition

proscribed by the Supreme Court.

        77.               Moreover, even       if it was conceded   that Plaintifß' satirical Roast did constitute

"hate speech," which Plaintiffs emphatically deny, such speech is not "beyond the bounds of free

speech."

        78.               Despite this clear and unambiguous text               of the Code, and Supreme      Court

jurisprudence demonstrating Plaintifß' conduct in the Roast does constitute protected speech, the

University continues to use Plaintifß' satirical Roast as pretext to create a punishment not

specifically set forth in the system, without any adjudicative finding of fact or appeals process.

        79.               Such   a   pretextual foundation for supporting   a   punishment created by administrative

fiat is in blatant violation of Plaintiffs' contractual rights to exercise their free speech as defined

by the Constitution.

        80.               Moreover, in addition to infringing on Plaintiffs' contractually protected right to

exercise free speech, the University's conduct has prevented Plaintiffs' from attending class,

participating        in any and all          academic activities, and generally fulfilling the requirements to

continue the academic year, without following the proper policies and procedures enacted by the

University.




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           81.                This suspension of academic activities has occurred at a critical time for Plaintiffs

as the 2017-2018 academic calendar reflects that                     Plaintifß' indefinite   and undefined suspension

has occurred during the final two weeks of classes and may continue into the final exam period.

           82.                Upon information and belief, the University has not taken any steps                  to

accommodate Plaintiffs and ensure that the students will be permitted to continue their academic

studies or finish the school year.

           83.                Accordingly, the actions undertaken by the University and set forth above

constitute a breach of contract with Plaintiffs and have infringed on Plaintiffs' First Amendment

rights.

           84.                The University's actions in suspending Plaintiffs without cause has resulted in the

immediate, irreparable injury that has no adequate remedy at law because Plaintiffs will not be

able to recover the loss of the time invested in the semester or recover from the stigma of being

suspended by the University. Further,                 Plaintifß suffer great hardship in not being able to complete

a semester that they               worked for months to complete.

                 AS AND FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANTS,
                    KENT SYVERUD, PAMELA PETER, ROBERT IIRADSI(Y,
                           AND TERESA ABI-NADER DAHLBERG,
                                   FOR DEFAMATION

           85.                Plaintiffs repeat and reallege the allegations set forth in paragraphs "1" through

"84" with the same force and effect as if fully set forth herein.

           86.                The Defendants, individually or by and through their agents, selants, or

ernployees, knowingly or negligently, published, distributed, and circulated false accusations and

statements regarding Plaintiffs and the Roast.

           81.                Upon information and belief, officials at the University have intentionally,

purposefully, and repeatedly decontextualized, intentionally distorted, and consciously used



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selected video clips at their disposal for the purposes of presenting the Roast in a false light in

furtherance of the University's public relations campaign.

        88.                   Indeed, the University has purposefully and intentionally failed to portray the Roast

in the satirical light in which it was                  intended; instead, University officials have selectively

commented on snippets to make the Roast appear as though the excerpts were seriously held views

of Plaintiffs.

        89.                   Specifically, University officials have made several false statements of fact over

the last eight days:

                 a,           Chancellor Kent Syverud ignored the context          of the Roast recordings, falsely

                              labelling the recordings as actual "extreme and egregious racism, sexism, ableism,

                              antisemitism and homophobia";

                 b.           Dean of Students Robert Hradsky falsely stated the Roast recordings portrayed

                              "ssxual and relationship violence";

                 c.           Chancellor Kent Syverud labelled the participants "[e]xplicitly racist, anti-sematic,

                              homophobic, sexist, and hostile to people with disabilities"; and

                 d.           Chancellor Kent Syverud eroneously stated, "the second video depicts egregious

                              behavior, including sexual assault, violence and discriminatory mockery and

                              hostility toward people with disabilities that is unacceptable and deeply harmful in

                              many ways," without addressing the Roast's context.

        90.                   Moreover, University officials, including but not limited to the Deparlrnent of

Public Safety Chief Bobby Maldonado, described the conduct                    as   criminal despite District Attorney

William Fitzpatrick stating that there was "nothing" crirninal about the videos.




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       91.                 University officials continued to make such statements despite members of the

Chapter publically and unequivocally stating that the Roast was a satirical depiction of "an

uneducated, racist, homophobic, misogynist, sexist, ableist and intolerant person."

       92.                 This statement demonstrably shows Plaintiffs were not, in fact, depicting their own

views. This statement, along with the other videos not released by the University, demonstrates

Plaintifß goals were to make fun of racists, sexists, and bigots, as opposed to the Universities

statements, which indicate Plaintiffs, condone such views.

       93.                 Accordingly, the Universities statements regarding Plaintifß is a rash attempt to

stigmatize Plaintiffs themselves as racists, sexists, homophobic, sexual assault lovingbigots, rather

than explaining the true purpose of the video, which was to decry that very behavior.

       94.                 As a direct and proximate result of the University's intentional and malicious

actions,   by and through its                agents, servants andlor employees, has disseminated libelous,

slanderous, and defamatory statements regarding Plaintifß' alleged beliefs and conduct. As such,

Plaintiffs have suffered economic damages, past and future mental anguish and                            distress,

irreparable damage to their reputation, and humiliation, resulting               in direct and consequential

damages totaling over             $   1,000,000.00 per Plaintiff.

  AS AND FOR A FIFTH CAUSE OF ACTION AGAINST SYRACUSE UNIVERSITY
      FOR VIOLATING PLAINTIFFS' FOURTEENTH AMENDMENT RIGHTS
                      PURSUANT TO 42 U.S.C. $ 1983

        95.                Plaintifß repeat and reallege the allegatìons set forth in paragraphs   "l"   through

"94" with the same force and effect as if fully set forth herein

        96.                The University charged Plairitiffs with violating the following Code provision:

"Conduct-whether physical, verbal or electronic, oral, written or video- which threatens the mental




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health, physical health, or safety of any person or persons including, but not limited to hazing, drug

or alcohol abuse, bullying and other forms of destructive behavior."

       97.                The University created and imposed a new punishment on Plaintiffs: a quasi-

suspension. The quasi-suspension falls outside all procedural safeguards established in the System

and was established and implemented              arbitrarily, capriciously and unreasonably manner.

       98.                The quasi-suspension thus violates Plaintiffs' due process rights as enshrined by

the Fourteenth Amendment. Indeed, Plaintiffs are undergoing the quasi-suspension due to the

whims of a University administrator without any recourse to appeal their tyrannical rule.

        99,               Upon information and belief, and at all relevant times, the University and the Board

of Trustees had been compelled by New York Education Law $ 6430 to add the Code provision,

because New          York Education Law $ 6430 imposed on universities and colleges across the State

of New York with the obligation to enact policies and procedures to "prohibit, among other things,

any action or situation which recklessly or intentionally endangers mental or physical health or

involves the forced consumption of liquor or drugs for the purpose of initiation into or affiliation

with any or ganization."

        100.              Upon information and belief, such inducement was the driving force behind the

University adopting the aforementioned policy that specifically addresses the mental and physical

health of students as well as the prohibition on compulsory drinking and hazing.

        101.              Additionally, Plaintiffs have been denied the right to procedural due process by

virtue of the University denying them the right to a procedural advisor at all phases of the

disciplinary process, as promised in the Student Handbook and Student                  Bill of   Rights, which

deprives thern of a rneaningful opporlunity to be heard.




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         102.               Therefore, the University was acting under the color of a State statute when it

enacted the aforementioned policy.

         103. Moreover,                because the University's actions were significantly encouraged, either

overtly or covertly, the University's otherwise private actions are chargeable to the State.

         104.               Accordingly, the University's conduct is fairly attributable to the State, because the

State, upon information and belief, substantially encouraged the University's disciplinary action

taken against Plaintifß.


         105.               The University's actions in suspending Plaintiffs without cause has resulted in the

immediate, irreparable injury that has no adequate remedy at law because Plaintiffs will not be

able to recover the loss of the time invested in the semester or recover from the stigma of being

suspended by the              University. Further, Plaintiffs suffer great hardship in not being able to complete

a semester that they worked for months to complete.


                                     AS AND FOR A SIXTH CAUSE OF ACTION
                                           FOR PUNITIVE DAMAGES

         106. Plaintiffs repeat and reallege               each and every allegation in paragraphs      "1" through

"105"   as   if specifically         set forth below.

         107.               Defendants' aforementioned acts demonstrate a callous, reckless, willful, depraved

and wanton indifference to and disregard for               Plaintiffs' rights.

         108. Defendants'                 grossly negligent,   willful, and wanton conduct evinces a          total,

conscious and/or reckless disregard of Plaintifß' contractual and constitutional rights to the due

process and freedom ofspeech.

         109. Defendants'                 unauthorized and unlawful actions, despite fulI knowledge of the

consequences associated with those actions dernonstrates a callous, reckless,               willful,   depraved and

wanton indifference to and disregard of Plaintiffs' rights and of federal law.


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       110. Consequently,               an award of punitive damages is warranted and required in order to

uphold and vindicate Plaintifß' rights.

       111. By reason of the foregoing, Ptaintiffs                  seek judgment against Defendants for

compensatory and punitive damages in an amount that exceeds the
                                                                jurisdictional limits of all lower

courts, together with interest, disbursements, costs and fees, in addition to attorneys' fees, to the

fullest extent permitted bY law.

       \ilHEREFORE, Plaintiffs, JOHN DOE #1, JOHN DOE #2, JOHN DOE #3, and JOHN DOE

#4, andJOHN DOE #5, respectfully request the following relief be granted by this Court:

             A. A permanent            injunction:

                            a.   Restoring Plaintifß to good academic standing during the pendency of this

                                 Action;

                            b.   Staying any pending disciplinary proceedings taken by Defendants against

                                 Plaintifß during the pendency of this Action;

                            c.   Prohibiting Defendants from furthering any disciplinary actions already taken

                                 against Plaintiffs during the pendency of this Action; and

                            d.   Prohibiting Defendants from commencing any other disciplinary actions

                                 against Plaintiffs during the pendency of this Action;

              B. A judgment           against all Defendants, jointly and severally, awarding compensatory

                         damages to Plaintiffs in an amount to be determined at    a   jury trial;

              C.         A judgment against all Defendants, jointly and severally, awarding punitive damages

                         to Plaintiffs in an amount to be determined at a jury trial;




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            D.      Costs and prejudgment interest; and

                                                      as the   court   deems    just and proper'
            E. Any other such and further relief
Dated:   April24,20l8                            SMITH, SOVIK' KENDRICK & SUGNET' P'C'

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                                                 By
                                                                   E.                , Esq
                                                                Roll        :
                                                                        103027
                                                         Karen GuYder  Felter, Esq.
                                                         Bar Roll No.: 508182
                                                         David M. Katz, Esq'
                                                         Bar Roll No.: 700065
                                                 Attorneys for Plaintffi
                                                 250 South Clinton Street, Suite 600
                                                 Syracuse, New York 13202
                                                 Telephone: (315)474-2911
                                                  Facsimile:           (315)474-6015
                                                  Email:               khulslander@smithsovik.com




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